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                                  UNITED STATES DISTRICT COURT
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                               SOUTHERN DISTRICT OF CALIFORNIA
      11
           UNITED STATES OF AMERICA,                      Case No.:
                                                                             2 0 MJ 9 9 3 ·J
      12
                                                          COMPLAINT FOR VIOLATION OF
      13                             Plaintiff,
                  V.
      14                                                  Title 21 U.S.C. §§ 952 and 960
                                                          Importation of a Controlled Substance
      15   Nooraldeen HIJAZI,
                                                          (Felony)
      16
                                     Defendant.
      17
      18 1 1 - - - - - - - - - - - - - - - - - '
      19
                 The undersigned complainant being duly sworn states:
      20
      21         On or about October 26th , 2020, within the Southern District of California,
      22
           defendant, Nooraldeen HIJAZI, did knowingly and intentionally import 500 grams or more
      23
           to wit: approximately 0.82 kilograms (1.81 pounds) of a mixture and substance containing
      24
      25 a detectable amount of methamphetamine, a Schedule II Controlled Substance, into the
      26
         United States from a place outside thereof, in violation of Title 21, United States Code,
      27
      28 Sections 952 and 960.
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                The complainant states that this complaint is based on the attached Statement o
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           acts incorporated herein by reference.
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      4                                             ~                     -----------
                                                Riaan Roberts, Special Agent
      5
                                                Homeland Security Investigations
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      7
                Sworn and attested to under oath by telephone, in accordance with Federal Rule of.
      8
      9
           Criminal Procedure 4.1 on November       $       , 2020.
      10

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     12                                     ~ R O
                                                U.S. MAGISTRATE JUDGE
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 l    UNIED STATES OF AMERICA
            V.
 2
      Nooraldeen HIJAZI
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                                     STATEMENT OF FACTS
 4
            This Complaint and Statement of Facts is based on the personal observations,
 5
 6 investigation, and information furnished to U.S. Homeland Security Investigations Special

 7 Agent Riaan Roberts.
 8
            On October 26, 2020, at approximately 11 :47 p.m., Nooraldeen HIJAZI (HIJAZI)
 9
1O applied for entry at the Calexico, California West Port of Entry through the pedestrian
11
      primary lanes. United States Customs and Border Protection Officer (CBPO) Nazary was
12
      assigned to the primary booths at the time HIJAZI approached and gave a negative customs
13
14 declaration. CBPO Nazary noted a computer-generated alert and referred HIJAZI to the
15
      secondary inspection area for further inspection.
16
            In pedestrian secondary, CBPO Mendez and his Human Narcotics Detection Dog
17
18 (HNDD) conducted a canine inspection of the food products HIJAZI was carrying. The
19
      HNDD subsequently alerted to a bag of cinnamon rolls. CBPO Weisskopf conducted a
20
      pat-down and inspected the packages of cinnamon rolls carried by HIJAZI. Inside the
21
22 cinnamon rolls, CBPO Weisskopf discovered two clear plastic packages containing a white
23
      crystalline substance. The two packages were turned over to CBPO Arredondo for testing.
24
      CBPO Arredondo tested a sample of the white crystalline substance with the GEMINI
25
26 machine which yielded positive results for the presence of methamphetamine.            The
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                                                   3
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           combined weight of the methamphetamine was approximately 0.82 kilograms (1.81
      1
      2 pounds).
      3
                 HIJAZI was arrested and charged with a violation of Title 21, United States Code,
      4
           952 and 960, for Importation of a Controlled Substance, and was issued a Notice to Appear
      5
      6 dated December 11, 2020 at 8:00 a.m.
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